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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                                                                                     September 22, 2021
                             UNITED STATES DISTRICT COURT                             Nathan Ochsner, Clerk
                              SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

DAVID D. SCHEIN, Individually and                   §
on °behalf of all others similarly                  §
situated                                            §
                                                    §
vs.                                                 §       C.A. NO. 4:20-cv-180
                                                    §
                                                    §
MDU RESOURCES GROUP, INC.,                          §
RICKEY EV ANS d/b/a CERTIFIED                       §
COMMERCIAL ROOFING,                                 §
GREENLIGHT BUSINESS CREDIT,                         §
JOSHUA COSTELLO d/b/a PAYLESS                       §
ROOFING AND REMODELING,                             §
ADVANCED INTERNET                                   §
MARKETING d/b/a CHOICE                              §
CAREER FAIRS, CHRISTOPHER                           §
DEAN WELLS d/b/a WELLS                              §
CONSTRUCTION and FREEDOM                            §
WORKING CAPITAL                                     §       JURY DEMANDED
      ORDER GRANTING PLAINTIFF'S MOTION FOR ENTRY OF DEFAULT AND
                        FOR DEFAULT JUDGMENT

          Plaintiff DAVID D. SCHEIN, Individually and on behalf of all others similarly situated

Motion for Entry of Default and for Default Judgment as to Defendant CHRISTOPHER DEAN

WELLS d//b/a WELLS CONSTRUCTION is in all things GRANTED. It is

          ORDERED that Defendant CHRISTOPHER DEAN WELLS                        d//b/a WELLS

CONSTRUCTION is hereby enjoined from sending to Plaintiff DAVID D. SCHEIN any and all

unsolicited faxes as prohibited by the Telephone Consumer Protection Act 47 U.S.C. § 227. It is

further

          ORDERED that Plaintiff DAVID D. SCHEIN is awarded monetary damages from

Defendant CHRISTOPHER DEAN WELLS d//b/a WELLS CONSTRUCTION in the amount

of$1,500.00 and attorney's fees in the amount of$14,000.00. It is further
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        ORDERED that Defendant CHRISTOPHER DEAN WELLS d//b/a WELLS

CONSTRUCTION is to produce and disclose to Plaintiff DAVID D. SCHEIN the names and

identities of the company/entity he has used, if any, and/or the hardware and software systems used

to send the fax at issue in this case.

                                           , 2021.
